
666 S.E.2d 760 (2008)
STATE of North Carolina
v.
Alfonza Dawnta COLTRANE aka Alfenza Dawnta Colterane aka Alfonz Dwante Coltrane.
No. 99P08.
Supreme Court of North Carolina.
August 26, 2008.
Anne Bleyman, Chapel Hill, for Alfonza Dawnta Coltrane.
John Barkley, Assistant Attorney General, Garland N. Yates, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 650 S.E.2d 322.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 8th day of March 2008 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 8th day of March 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals *761 pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
